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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND

STATE OF MARYLAND                            :
                                             :
      v.                                     :      Case No. JKB-22-439
                                             :
DAVID WARREN,                                :
                                             :
      Defendant                              :


   MOTION FOR DISCLOSURE OF MATERIALS RELATED TO LAW
                 ENFORCEMENT WITNESSES

      Defendant David Warren (“Mr. Warren”), by and through his counsel, John

M. McKenna, Michael E. Lawlor, Adam C. Demetriou, and Brennan, McKenna &

Lawlor, Chtd., respectfully moves pursuant to the Fifth and Sixth Amendments to

the United States Constitution, Brady v. Maryland, 373 U.S. 83 (1963), and Giglio

v. United States, 405 U.S. 150 (1972), for the disclosure of all information tending

to impeach any law enforcement officer or agent the Government may seek to call

as a witness at any hearing or trial in this case. In support of this Motion, counsel

state as follows:

      1.     On December 15, 2022, the Government filed a one-count Indictment

charging Mr. Warren and five others with racketeering conspiracy, in violation of

18 U.S.C. § 1962(d). (Indictment, ECF No. 1.) The Indictment alleges that beginning

in or about 2014 and continuing until on or about the date of the Indictment, Mr.

Warren conspired with others to conduct and participate in the affairs of the Black
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Guerilla Family (“BGF”). The Indictment alleges 48 overt acts in furtherance of the

charged conspiracy.

      2.     In Brady v. Maryland, 373 U.S. 83, 87 (1963), the Supreme Court held

that “the suppression by the prosecution of evidence favorable to an accused upon

request violates due process where the evidence is material either to guilty or

punishment, irrespective of the good faith or bad faith of the prosecution.” The

Supreme Court has made clear that due process requires that evidence tending to

impeach Government witnesses be disclosed to a defendant in a criminal case. Giglio

v. United States, 405 U.S. 150 (1972). Generally, such evidence must be disclosed

in time for a defendant to make effective use of it at trial. See, e.g., United States v.

Jeffers, 570 F.3d 557, 573 (4th Cir. 2009). While it is common practice in this

District for Giglio disclosures to be due only weeks before trial, in this case, there is

good reason to require earlier disclosure of Giglio material related to law

enforcement witnesses.

      3.     The investigation in this case spanned several years. Both state and

federal law enforcement agencies participated in it. The discovery provided by the

Government and publicly available materials reveal that as to several law

enforcement officers involved in the investigation, there is substantial information

tending to impeach their credibility. For example, on July 13, 2015, former

Baltimore Police Department Detective Daniel Hersl took part in law enforcement

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activity related to the search of a ‘Safe Streets’ office location at 2312 E. Monument

Street. Law enforcement reports indicate that Mr. Warren was present at the

premises, where contraband materials were located. Mr. Hersl was later convicted

of racketeering offenses related to his employment with the Baltimore Police

Department. See generally United States v. Hersl, No. GLR-17-106 (D. Md.). On

May 2, 2018, Mr. Warren was interviewed at a police station by former Baltimore

Police Department Detective James Lloyd. On August 24, 2020, Mr. Lloyd was

indicted in the Circuit Court for Baltimore County and charged with kidnapping and

related offenses. See State v. Lloyd, No. C-03-CR-20-002289. On June 15, 2022, Mr.

Lloyd entered an Alford plea to misconduct in office. Baltimore Police Department

Office Timothy Romeo conducted several warrantless searches and seizures of Mr.

Warren. This Court has previously addressed the matter of Giglio information

related to Officer Romeo in the context of another case charging racketeering

offenses related to the Black Guerilla Family. See United States v. Johnson, et al.,

No. JKB-16-363 (D. Md.). In that case, this Court had occasion to conduct an ex

parte and in camera review of materials related to Officer Romeo. The Court

indicated that it had authored an opinion on that very issue. 1/2/2018 Tr. at 2-3,

Johnson, JKB-16-363 (D. Md.), ECF No. 771.

      4.     Given the expansiveness of the investigation in this case as well as

historical and ongoing misconduct-related problems with the Baltimore Police

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Department, Mr. Warren submits that the disclosure of Giglio material for potential

current and former law enforcement witnesses is wholly appropriate. Such

disclosure would permit a fulsome defense investigation of the case. It would also

promote an efficient trial in this matter.

      5.     Mr. Warren consents to the issuance of a protective order governing the

requested materials.

      6.     For these reasons, Mr. Warren requests that the Court order the

Government to disclose, by the date its response to the defendants’ pretrial motions

is due, all Giglio material for all current and former members of law enforcement

and their agents who may be witnesses in this case.

      7.     Mr. Warren respectfully requests a hearing on this Motion.


                                                 Respectfully submitted,

                                                 s/____________________
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                                                 Michael E. Lawlor
                                                 Adam C. Demetriou
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on December 14, 2023, a copy of the foregoing

was sent to the United States Attorney’s Office for the District of Maryland via ECF.

                                               ________/s/__________
                                               John M. McKenna




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